     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 1 of 19 Page ID #:3341




 1
 2
 3                                   UNITED STATES DISTRICT COURT
 4                                  CENTRAL DISCTRICT OF CALIFORNIA
 5
 6     Los Angeles Unified School District           ) Case No. 2:20-CV-05330-GW-SK
                                                     )
 7                     Plaintiff,                    ) STIPULATED PROTECTIVE ORDER
                                                     )
 8               vs.                                 )
                                                     )
 9     S&W Atlas Iron & Metal Company,               )
       Inc., 10019 S. Alameda LLC; Gary              )
10     Weisenberg; Matthew Weisenberg                )
                                                     )
11                     Defendants.                   )
                                                     )
12                                                   )
                                                     )
13                                                   )
                                                     )
14                                                   )
                                                     )
15
16     .         A. PURPOSES AND LIMITATIONS
17
                 Discovery in this action is likely to involve production of
18
       confidential, proprietary, or private information for which special protection
19
       from public disclosure and from use for any purpose other than prosecuting this
20
       litigation may be warranted. Accordingly, the parties hereby stipulate to and
21
       petition the Court to enter the following Stipulated Protective Order. The parties
22
23
       acknowledge that this Order does not confer blanket protections on all

24     disclosures or responses to discovery and that the protection it affords from

25     public disclosure and use extends only to the limited information or items that
26     3139342


27                                                   1
28                                       STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 2 of 19 Page ID #:3342




 1     are entitled to confidential treatment under the applicable legal principles. The
 2     parties further acknowledge, as set forth in Section 12.3, below, that this
 3     Stipulated Protective Order does not entitle them to file confidential
 4
       information under seal; Civil Local Rule 79-5 sets forth the procedures that
 5
       must be followed and the standards that will be applied when a party seeks
 6
       permission from the court to file material under seal.
 7
 8
       B. GOOD CAUSE STATEMENT
 9
10
                 This action is likely to involve trade secrets, customer and pricing lists
11
       and other valuable research, development, commercial, financial, technical and/or
12
       proprietary information for which special protection from public disclosure and
13
       from use for any purpose other than prosecution of this action is warranted. Such
14
       confidential and proprietary materials and information consist of, among other
15
16
       things, confidential business or financial information, information regarding

17     confidential business practices, or other confidential research, development, or
18     commercial information (including information implicating privacy rights of
19     third parties), information otherwise generally unavailable to the public, or which
20     may be privileged or otherwise protected from disclosure under state or
21     federal statutes, court rules, case decisions, or common law. Accordingly, to
22     expedite the flow of information, to facilitate the prompt resolution of disputes
23     over confidentiality of discovery materials, to adequately protect information the
24     parties are entitled to keep confidential, to ensure that the parties are permitted
25
       reasonable necessary uses of such material in preparation for and in the conduct of
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27                                                  2
28                                      STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 3 of 19 Page ID #:3343




 1     trial, to address their handling at the end of the litigation, and serve the ends of
 2     justice, a protective order for such information is justified in this matter. It is the
 3     intent of the parties that information will not be designated as confidential for
 4
       tactical reasons and that nothing be so designated without a good faith belief that it
 5
       has been maintained in a confidential, non-public manner, and there is good cause
 6
       why it should not be part of the public record of this case.
 7
 8     2.        DEFINITIONS
 9                   2.1    Action: United States District Court Central District of
10
       California Case No. 2:20-CV-05330-GW-SK, Los Angeles Superior Court Case
11
       No. 21STCV13453.
12
13                   2.2    Challenging Party: a Party or Non-Party that challenges the
14     designation of information or items under this Order.
15
                     2.3    “CONFIDENTIAL” Information or Items: information
16
       (regardless of how it is generated, stored or maintained) or tangible things
17
       that qualify for protection under Federal Rule of Civil Procedure 26(c), and as
18
       specified above in the Good Cause Statement.
19
20                   2.4    Counsel: Outside Counsel of Record and House Counsel (as
21     well as their support staff).
22
                     2.5    Designating Party: a Party or Non-Party that designates
23
       information or items that it produces in that it in disclosures or in responses to
24
       discovery as “CONFIDENTIAL.”
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27                                                 3
28                                     STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 4 of 19 Page ID #:3344




 1                   2.6    Disclosure or Discovery Material: all items or information,
 2     regardless of the medium or manner in which it is generated, stored, or maintained
 3     (including, among other things, testimony, transcripts, and tangible things), that are
 4
       produced or generated in disclosures or responses to discovery in this matter.
 5
 6
                     2.7    Expert: a person with specialized knowledge or experience in

 7     a matter pertinent to the litigation who has been retained by a Party or its counsel
 8     to serve as an expert witness or as a consultant in this Action.
 9                   2.8    House Counsel: attorneys who are employees of a party to this
10
       Action. House Counsel does not include Outside Counsel of Record or any
11
       other outside counsel.
12
                     2.9    Non-Party: any natural person, partnership, corporation,
13
14
          association, or other legal entity not named as a Party to this action.

15                   2.10 Outside Counsel of Record: attorneys who are not employees
16     of a party to this Action but are retained to represent or advise a party to this Action
17     and have appeared in this Action on behalf of that party or are affiliated with a law
18
       firm which has appeared on behalf of that party, and includes support staff.
19
20
                     2.11 Party: any party to this Action, including all of its officers,

21     directors, employees, consultants, retained experts, and Outside Counsel of Record
22     (and their support staffs).
23
                     2.12 Producing Party: a Party or Non-Party that produces
24
       Disclosure or Discovery Material in this Action.
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27                                                 4
28                                     STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 5 of 19 Page ID #:3345




 1                     2.13 Professional Vendors: persons or entities that provide litigation
 2     support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 3     demonstrations, and organizing, storing, or retrieving data in any form or
 4
       medium) and their employees and subcontractors.
 5
 6
                       2.14 Protected Material: any Disclosure or Discovery Material that

 7     is designated as “CONFIDENTIAL.”

 8                     2.15 Receiving Party: a Party that receives Disclosure or Discovery
 9     Material from a Producing Party.
10
       3.          SCOPE
11
12                     The protections conferred by this Stipulation and Order cover not
13     only Protected Material (as defined above), but also (1) any information copied or
14     extracted from Protected Material; (2) all copies, excerpts, summaries, or
15
       compilations of Protected Material; and (3) any testimony, conversations, or
16
       presentations by Parties or their Counsel that might reveal Protected Material.
17
18                     Any use of Protected Material at trial shall be governed by the
19     orders of the trial judge. This Order does not govern the use of Protected Material
20     at trial.
21     4.          DURATION
22                     Even after final disposition of this litigation, the confidentiality
23
       obligations imposed by this Order shall remain in effect until a Designating Party
24
       agrees otherwise in writing or a court order otherwise directs. Final disposition
25
       shall be deemed to be the later of (1) dismissal of all claims and defenses in this
26     3139342


27                                                   5
28                                      STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 6 of 19 Page ID #:3346




 1     Action, with or without prejudice; and (2) final judgment herein after the
 2     completion and exhaustion of all appeals, re-hearings, remands, trials, or reviews
 3     of this Action, including the time limits for filing any motions or applications
 4
       for extension of time pursuant to applicable law.
 5
 6
       DESIGNATING PROTECTED MATERIAL

 7                  5.1    Exercise of Restraint and Care in Designating Material for
 8     Protection. Each Party or Non-Party that designates information or items for
 9     protection under this Order must take care to limit any such designation to
10
       specific material that qualifies under the appropriate standards. The Designating
11
       Party must designate for protection only those parts of material, documents,
12
       items, or oral or written communications that qualify so that other portions
13
       of the material, documents, items, or communications for which protection is
14
       not warranted are not swept unjustifiably within the ambit of this Order. Mass,
15
       indiscriminate, or routinized designations are prohibited. Designations that are
16
17
       shown to be clearly unjustified or that have been made for an improper

18     purpose (e.g., to unnecessarily encumber the case development process or to
19     impose unnecessary expenses and burdens on other parties) may expose the
20     Designating Party to sanctions. If it comes to a Designating Party’s attention that
21     information or items that it designated for protection do not qualify for protection,
22     that Designating Party must promptly notify all other Parties that it is withdrawing
23     the inapplicable designation.
24
                    5.2    Manner and Timing of Designations. Except as otherwise
25
       provided in this Order (see, e.g., second paragraph of section 5.2(a) below), or
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27                                                 6
28                                     STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 7 of 19 Page ID #:3347




 1     as otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies
 2     for protection under this Order must be clearly so designated before the
 3     material is disclosed or produced.
 4
                       Designation in conformity with this Order requires:
 5
 6                        (a)   for information in documentary form (e.g., paper or
 7     electronic documents, but excluding transcripts of depositions or other pretrial
 8     or trial proceedings), that the Producing Party affix at a minimum, the legend
 9
       “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
10
       contains protected material. If only a portion or portions of the material on a
11
12
       page qualifies for protection, the Producing Party also must clearly identify the

13     protected portion(s) (e.g., by making appropriate markings in the margins).
14               A Party or Non-Party that makes original documents available for
15     inspection need not designate them for protection until after the inspecting Party
16     has indicated which documents it would like copied and produced. During the
17     inspection and before the designation, all of the material made available for
18
       inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
19
       identified the documents it wants copied and produced, the Producing Party must
20
       determine which documents, or portions thereof, qualify for protection under this
21
       Order. Then, before producing the specified documents, the Producing Party must
22
       affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
23
       If only a portion or portions of the material on a page qualifies for protection, the
24
25
       Producing Party also must clearly identify the protected portion(s) (e.g., by making

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27                                                 7
28                                     STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 8 of 19 Page ID #:3348




 1     appropriate markings in the margins).
 2
                           (b) for testimony given in depositions that the Designating Party
 3
       identify the Disclosure or Discovery Material on the record, before the close of
 4
       the deposition all protected testimony.
 5
 6                         (c) for information produced in some form other than
 7     documentary and for any other tangible items, that the Producing Party affix in a
 8     prominent place on the exterior of the container or containers in which the
 9     information is stored the legend “CONFIDENTIAL.” If only a portion or portions
10
       of the information warrants protection, the Producing Party, to the extent
11
       practicable, shall identify the protected portion(s).
12
13                   5.3      Inadvertent Failures to Designate. If timely corrected, an
14     inadvertent failure to designate qualified information or items does not, standing
15     alone, waive the Designating Party’s right to secure protection under this Order for
16     such material. Upon timely correction of a designation, the Receiving Party must
17     make reasonable efforts to assure that the material is treated in accordance with the
18     provisions of this Order.
19
20
21      CHALLENGING CONFIDENTIALITY DESIGNATIONS
22
                     6.1      Timing of Challenges. Any Party or Non-Party may
23
       challenge a designation of confidentiality at any time that is consistent with
24
       the Court’s Scheduling Order.
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27                                                  8
28                                      STIPULATED PROTECTIVE ORDER
     Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 9 of 19 Page ID #:3349




 1                   6.2   Meet and Confer. The Challenging Party shall initiate the
 2     dispute resolution process under Local Rule 37.1 et seq.
 3
                     6.3   The burden of persuasion in any such challenge proceeding
 4
       shall be on the Designating Party. Frivolous challenges, and those made for an
 5
 6
       improper purpose (e.g., to harass or impose unnecessary expenses and

 7     burdens on other parties) may expose the Challenging Party to sanctions.

 8     Unless the Designating Party has waived or withdrawn the confidentiality
 9     designation, all parties shall continue to afford the material in question the
10     level of protection to which it is entitled under the Producing Party’s
11     designation until the Court rules on the challenge.
12
13
14     7.        ACCESS TO AND USE OF PROTECTED MATERIAL
15                   7.1   Basic Principles. A Receiving Party may use Protected
16
       Material that is disclosed or produced by another Party or by a Non-Party in
17
       connection with this Action only for prosecuting, defending, or attempting to
18
       settle this Action. Such Protected Material may be disclosed only to the categories
19
       of persons and under the conditions described in this Order. When the Action has
20
       been terminated, a Receiving Party must comply with the provisions of
21
       section 13 below (FINAL DISPOSITION).
22
23                   Protected Material must be stored and maintained by a Receiving
24     Party at a location and in a secure manner that ensures that access is limited to
25     the persons authorized under this Order.
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27                                                9
28                                   STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 10 of 19 Page ID #:3350




 1                  7.2      Disclosure of “CONFIDENTIAL” Information or Items.
 2   Unless otherwise ordered by the court or permitted in writing by the Designating
 3   Party, a Receiving Party may disclose any information or item designated
 4
     “CONFIDENTIAL” only to:
 5
 6
                          (a) the Receiving Party’s Outside Counsel of Record in this

 7   Action, as well as employees of said Outside Counsel of Record to whom it
 8   is reasonably necessary to disclose the information for this Action;
 9                        (b) the officers, directors, and employees (including House
10   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for
11   this Action;
12
                          (c) Experts (as defined in this Order) of the Receiving Party
13
14
     to whom disclosure is reasonably necessary for this Action and who have

15   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
16                        (d) the court and its personnel;
17
                          (e) court reporters and their staff;
18
19                        (f) professional jury or trial consultants, mock jurors, and
20   Professional Vendors to whom disclosure is reasonably necessary for this Action
21   and who have signed the “Acknowledgment and Agreement to Be Bound”
22   (Exhibit A);
23
                          (g) the author or recipient of a document containing the
24
     information or a custodian or other person who otherwise possessed or knew the
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27                                                  10
28                                      STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 11 of 19 Page ID #:3351




 1   information;
 2
                        (h) during their depositions, witnesses ,and attorneys for
 3
     witnesses, in the Action to whom disclosure is reasonably necessary provided: (1)
 4
     the deposing party requests that the witness sign the form attached as Exhibit 1
 5
 6
     hereto; and (2) they will not be permitted to keep any confidential information

 7   unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit

 8   A), unless otherwise agreed by the Designating Party or ordered by the
 9   court. Pages of transcribed deposition testimony or exhibits to depositions that
10   reveal Protected Material may be separately bound by the court reporter and may
11   not be disclosed to anyone except as permitted under this Stipulated Protective
12   Order; and
13
                        (i) any mediator or settlement officer, and their supporting
14
     personnel, mutually agreed upon by any of the parties engaged in settlement
15
     discussions.
16
17   8.        PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
18   IN OTHER LITIGATION
19
               If a Party is served with a subpoena or a court order issued in other
20
     litigation that compels disclosure of any information or items designated in this
21
     Action as “CONFIDENTIAL,” that Party must:
22
23                      (a) promptly notify in writing the Designating Party. Such
24   notification shall include a copy of the subpoena or court order;
25
                        (b) promptly notify in writing the party who caused the subpoena
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27                                                11
28                                    STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 12 of 19 Page ID #:3352




 1   or order to issue in the other litigation that some or all of the material
 2   covered by the subpoena or order is subject to this Protective Order. Such
 3   notification shall include a copy of this Stipulated Protective Order; and
 4
                       (c) cooperate with respect to all reasonable procedures sought
 5
 6
     to be pursued by the Designating Party whose Protected Material may be affected.

 7                  If the Designating Party timely seeks a protective order, the Party
 8   served with the subpoena or court order shall not produce any information
 9   designated in this action as “CONFIDENTIAL” before a determination by the
10
     court from which the subpoena or order issued, unless the Party has obtained
11
     the Designating Party’s permission. The Designating Party shall bear the
12
     burden and expense of seeking protection in that court of its confidential
13
     material and nothing in these provisions should be construed as authorizing or
14
     encouraging a Receiving Party in this Action to disobey a lawful directive from
15
     another court.
16
17             9.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
18
     PRODUCED IN THIS LITIGATION
19
20                     (a)    The terms of this Order are applicable to information
21   produced by a Non-Party in this Action and designated as “CONFIDENTIAL.”
22   Such information produced by Non-Parties in connection with this litigation is
23   protected by the remedies and relief provided by this Order. Nothing in these
24   provisions should be construed as prohibiting a Non-Party from seeking additional
25   protections.
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27                                               12
28                                   STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 13 of 19 Page ID #:3353




 1                   (b)     In the event that a Party is required, by a valid discovery
 2   request, to produce a Non-Party’s confidential information in its possession, and
 3   the Party is subject to an agreement with the Non-Party not to produce the
 4
     Non-Party’s confidential information, then the Party shall:
 5
 6
                     (1)       promptly notify in writing the Requesting Party and the

 7   Non-Party that some or all of the information requested is subject to a
 8   confidentiality agreement with a Non-Party;
 9                   (2)       promptly provide the Non-Party with a copy of the
10
     Stipulated Protective Order in this Action, the relevant discovery request(s), and a
11
     reasonably specific description of the information requested; and
12
13                   (3)       make the information requested available for inspection
14   by the Non-Party, if requested.
15
                     (c) If the Non-Party fails to seek a protective order from this
16
     court within 14 days of receiving the notice and accompanying information, the
17
     Receiving Party may produce the Non-Party’s confidential information responsive
18
     to the discovery request. If the Non-Party timely seeks a protective order, the
19
     Receiving Party shall not produce any information in its possession or control
20
     that is subject to the confidentiality agreement with the Non-Party before a
21
     determination by the court. Absent a court order to the contrary, the Non-
22
23
     Party shall bear the burden and expense of seeking protection in this court of its

24   Protected Material.
25   10.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
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27                                             13
28                                 STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 14 of 19 Page ID #:3354




 1                 If a Receiving Party learns that, by inadvertence or otherwise, it has
 2   disclosed Protected Material to any person or in any circumstance not authorized
 3   under this Stipulated Protective Order, the Receiving Party must immediately
 4
     (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use
 5
     its best efforts to retrieve all unauthorized copies of the Protected Material, (c)
 6
     inform the person or persons to whom unauthorized disclosures were made of all
 7
     the terms of this Order, and (d) request such person or persons to execute the
 8
     “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
 9
     A.
10
11   11.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
12
     PROTECTED MATERIAL
13
14
                   When a Producing Party gives notice to Receiving Parties that

15   certain inadvertently produced material is subject to a claim of privilege or other

16   protection, the obligations of the Receiving Parties are those set forth in Federal
17   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
18   whatever procedure may be established in an e-discovery order that provides for
19   production without prior privilege review. Pursuant to Federal Rule of Evidence
20   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
21   of a communication or information covered by the attorney-client privilege or
22   work product protection, the parties may incorporate their agreement in the
23
     stipulated protective order submitted to the court.
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27                                              14
28                                  STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 15 of 19 Page ID #:3355




 1   12.       MISCELLANEOUS
 2
                     12.1 Right to Further Relief. Nothing in this Order abridges the right
 3
     of any person to seek its modification by the Court in the future.
 4
 5                   12.2 Right to Assert Other Objections. By stipulating to the
 6   entry of this Protective Order no Party waives any right it otherwise would
 7   have to object to disclosing or producing any information or item on any ground
 8   not addressed in this Stipulated Protective Order. Similarly, no Party waives any
 9   right to object on any ground to use in evidence of any of the material covered by
10
     this Protective Order.
11
12
                     12.3 Filing Protected Material. A Party that seeks to file under seal

13   any Protected Material must comply with Civil Local Rule 79-5. Protected
14   Material may only be filed under seal pursuant to a court order authorizing the
15   sealing of the specific Protected Material at issue. If a Party's request to file
16   Protected Material under seal is denied by the court, then the Receiving Party may
17   file the information in the public record unless otherwise instructed by the court.
18
               13.   FINAL DISPOSITION
19
20
                     After the final disposition of this Action, as defined in paragraph 4,

21   within 60 days of a written request by the Designating Party, each Receiving Party
22   must return all Protected Material to the Producing Party or destroy such
23   material. As used in this subdivision, “all Protected Material” includes all copies,
24   abstracts, compilations, summaries, and any other format reproducing or
25   capturing any of the Protected Material. Whether the Protected Material is
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27                                                15
28                                    STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 16 of 19 Page ID #:3356




 1   returned or destroyed, the Receiving Party must submit a written certification to
 2   the Producing Party (and, if not the same person or entity, to the Designating
 3   Party) by the 60 day deadline that (1) identifies (by category, where appropriate)
 4
     all the Protected Material that was returned or destroyed and (2)affirms that
 5
     the Receiving Party has not retained any copies, abstracts, compilations,
 6
     summaries or any other format reproducing or capturing any of the Protected
 7
     Material. Notwithstanding this provision, Counsel are entitled to retain an
 8
     archival copy of all pleadings, motion papers, trial, deposition, and hearing
 9
     transcripts, legal memoranda, correspondence, deposition and trial exhibits,
10
     expert reports, attorney work product, and consultant and expert work product,
11
12   even if such materials contain Protected Material. Any such archival copies that

13   contain or constitute Protected Material remain subject to this Protective Order as
14   set forth in Section 4 (DURATION).
15   14.       Any violation of this Order may be punished by any and all
16   appropriate measures including, without limitation, contempt proceedings
17
     and/or monetary sanctions.
18
19
20
21
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27                                             16
28                                 STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 17 of 19 Page ID #:3357




 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2
     DATED August 3, 2021
 3
 4
 5
     _/s/ Adam D. Wider______________________
     Attorneys for Plaintiff
 6   BARRY C. GROVEMAN
 7   K. RYAN HIETE
     ADAM D. WIEDER
 8
 9
10   DATED July 30, 2021
11
12   _/s/ Joseph Adams_______________________
13   Attorneys for Defendants
     JOSEPH ADAMS
14   ERIN POPPLER
15   CHRISTOPHER DOW
     BRENDAN BROWN
16   RYAN COWAN
17
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27                                        17
28                            STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 18 of 19 Page ID #:3358




 1    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 2
 3    DATED:       October 21, 2021               _
 4
 5
 6   Steve Kim, U.S. Magistrate Judge
 7
 8
 9
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28                               STIPULATED PROTECTIVE ORDER
 Case 2:20-cv-05330-SB-SK Document 107 Filed 10/21/21 Page 19 of 19 Page ID #:3359




 1                                              EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3   I, _______________________________________ [print or type full name], of
 4   _______________________________________[print or type full address], declare under penalty of perjury
     that I have read in its entirety and understand the Stipulated Protective Order
 5
     that was issued by the United States District Court for the Central District of
 6   California on [date] in the case of                               [insert formal name of the case
 7   and the number and initials assigned to it by the court]. I agree to comply with
     and to be bound by all the terms of this Stipulated Protective Order and I
 8   understand and acknowledge that failure to so comply could expose me to
 9   sanctions and punishment in the nature of contempt. I solemnly promise that I will
     not disclose in any manner any information or item that is subject to this
10
     Stipulated Protective Order to any person or entity except in strict compliance
11   with the provisions of this Order.
12   I further agree to submit to the jurisdiction of the United States District Court for
13   the Central District of California for the purpose of enforcing the terms of this
     Stipulated Protective Order, even if such enforcement proceedings occur after
14   termination of this action. I hereby appoint                              [print or
15   type full name] of                                                   [print or type
     full address and telephone number] as my California agent for service of process in
16
     connection with this action or any proceedings related to enforcement of this
17   Stipulated Protective Order.
18
19   Date:
20   City and State where sworn and signed:
21
     Printed name:
22
     Signature:
23
24
25
26   3139342


27                                                    19
28                                       STIPULATED PROTECTIVE ORDER
